           Case 1:21-cv-03007-LRS                    ECF No. 17      filed 10/27/21       PageID.1163 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_                                       FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                     Eastern District of Washington                    EASTERN DISTRICT OF WASHINGTON


                            ALEX G.,                                                                    Oct 27, 2021
                                                                     )                                        SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:21-CV-03007-LRS
  KILOLO KIJAKAZI, ACTING COMMISSIONER OF                            )
              SOCIAL SECURITY,                                       )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 12) is GRANTED, in part, and the matter is REMANDED to the
u
              Commissioner for additional proceedings.
              Defendant’s Motion for Summary Judgment (ECF No. 13) is DENIED.
              Judgment is entered for Plaintiff.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                   Lonny R. Suko                                             on motions for
      Summary Judgment (ECF Nos. 12 and 13).


Date: 10/27/2021                                                           CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Lee Reams
                                                                                           %\ Deputy Clerk

                                                                            Lee Reams
